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 1
     Martin G. Molina, Calif. Bar No. 176934
     LAW OFFICE OF MARTIN G. MOLINA
 2   185 West “F” Street
 3   Suite 100
     San Diego, California 92101
 4   Telephone: (619) 232-0620
 5   Facsimile: (619) 234-5322
     mmolinaesq@outlook.com
 6
 7 CJA Attorney for Defendant
     MIGUEL ANGEL MARQUEZ-MARTINEZ
 8
 9                           UNITED STATES DISTRICT COURT
10                        SOUTHERN DISTRICT OF CALIFORNIA
11                                   (Hon. William V. Gallo)
12 UNITED STATES OF AMERICA,                     )   CASE NO. 16 CR 813-H
13                                               )
                        Plaintiff,               )   Unopposed Motion for Discovery
14
                                                 )   of Records Relevant to
15         vs.                                   )   Allegations in Petition for
                                                 )   Revocation of Supervised Release
16
                                                 )
17 MIGUEL ANGEL MARQUEZ-                         )
     MARTINEZ,                                   )
18
                                                 )
19                      Defendant.               )
20                                               )

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           COMES NOW the defendant, MIGUEL ANGEL MARQUEZ-MARTINEZ by
22
     and through his counsel of record, Martin G. Molina, and hereby requests this Court to
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     order United States Probation to produce all records relevant to the allegations of non-
24
     compliance. The United States does not oppose this motion.
25
           Specifically, the defense requests (1) all records of attendance to drug treatment
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     counseling at Career and Recovery Resources, Inc. during the months of June and July
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                                         1                              16 CR 813-H
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 1 of 2018; and (2) all records of submissions to drug testing at Career and Recovery
 2 Resources, Inc. and at the halfway house during the months of June and July of 2018.
 3 These records are relevant to the case as the allegations charge the defendant with failing
 4 to comply with drug testing requirements and with failing to attend drug treatment
 5 counseling on a number of specified dates.
 6
 7 Dated: September 10, 2018                Respectfully submitted,
                                            LAW OFFICE OF MARTIN G. MOLINA
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 9
10                                          By: /s/ Martin G. Molina
11                                          Martin G. Molina
                                            mmolinaesq@outlook.com
12                                          CJA Attorney for Defendant
13                                          MIGUEL ANGEL MARQUEZ-MARTINEZ
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